                              NO. 07-10-00416-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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APRIL 1, 2011
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                       ROBERT DEWAYNE BENNETT, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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                 FROM THE 355TH DISTRICT COURT OF HOOD COUNTY;
                                       
               NO. CR11349; HONORABLE RALPH H. WALTON JR., JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
	Robert Dewayne Bennett appealed his conviction for possession of less than one gram of a controlled substance and the resulting sentence of fifteen years' imprisonment.
	Bennett's counsel has notified this Court that Bennett has passed away and, in light of his passing, has moved this Court to permanently abate Bennett's appeal.  The death of an appellant during the pendency of his or her appeal deprives this Court of jurisdiction. Tex. R. App. P. 7.1(a)(2); Whitmire v. State, 943 S.W.2d 894, 895 (Tex.Crim.App. 1997).
	Accordingly, we grant the motion and permanently abate this appeal.

																					Mackey K. Hancock
									Justice

	
Do not publish.  
